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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
––––––––––––––––––––––––––––––––––––––––– x
JOSEPH BARONE,                             :
                                           :   Index No. 6:17-cv-06877
                              Plaintiff,   :
                                           :
                  -against-                :
                                           :
                                           :
BAUSCH & LOMB, INC.,                       :
MORCHER GmbH, and FCI                      :
OPHTHALMICS, INC.,                         :
                                           :
                               Defendants.
––––––––––––––––––––––––––––––––––––––––– x


                    PLAINTIFF’S MEMORANDUM OF LAW
             IN OPPOSITION TO SUBJECT MATTER JURISDICTION
                 AND IN SUPPORT OF REMANDING THE CASE




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                                                                   th
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                                                 (212) 618-1938
                                                 Attorneys for Plaintiff




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          Pursuant to the Court’s August 27, 2018 Order (R. Doc. 31), plaintiff submits this

Memorandum of Law in opposition to subject matter jurisdiction and in support of remanding

the case back to New York Supreme Court, County of Monroe.

    I.       FACTUAL/PROCEDURAL BACKGROUND

          This action seeks redress for the injuries sustained and the pain and suffering endured by

Joseph Barone as a direct result of the failure of Bausch & Lomb, Inc.’s (B&L’s) Crystalens AO

Lens product (“Crystalens”) and Morcher GmbH’s and FCI Ophthalmics, Inc.’s Capsular

Tension Ring. The Crystalens and the Capsular Tension Ring product were implanted in Mr.

Barone’s right eye on or about August 20, 2015 in order to, inter alia, improve his eyesight.

Plaintiff’s Amended Complaint maintains causes of action for strict liability and negligence

based on B&L’s failure to report to the FDA instances of “Z syndrome,” a known defect in the

Crystalens. Plaintiff’s Amended Complaint also maintains causes of action for strict liability,

negligence, and breach of warranties against Morcher and FCI in connection with the failure of

the Capsular Tension Ring.

          On December 20, 2017, B&L removed the matter under 28 U.S.C. § 1331. On August

27, 2018, the court issued an Order directing the parties to file briefing as to subject matter

jurisdiction.

    II.      PRELIMINARY STATEMENT

          Federal district courts “have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. Federal question

jurisdiction pursuant to § 1331 is typically invoked in cases in which the plaintiff “pleads a cause

of action created by federal law.” Grable & Sons Metal Prods. v. Darue Eng'g & Mfg., 545 U.S.

308, 312 125 S. Ct. 2363 (2005). State law causes of action may nonetheless be considered to


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arise under federal law for purposes of federal question jurisdiction if the conjunctive, four-

pronged Grable-Gunn test is met. This test provides that a court will have federal question

jurisdiction over a state law claim “if a federal issue is: (1) necessarily raised, (2) actually

disputed, (3) substantial, and (4) capable of resolution in federal court without disrupting the

federal-state balance approved by Congress.” Gunn v. Minton, 568 U.S. 251, 258 (2013). As the

Supreme Court stated, “all” of the four requirements must be met for jurisdiction to be proper. Id

at 258. Indeed, only a “special and small category” of cases satisfies the test. Empire

Healthchoice Assurance, Inc. v. McVeigh, 547 U.S. 677, 701 (2006)). And, "the mere presence

of a federal issue in a state cause of action does not automatically confer federal-question

jurisdiction." Merrell Dow Pharms., Inc. v. Thompson, 478 U.S. 804, 813, 106 S. Ct. 3229, 92 L.

Ed. 2d 650 (1986); Finance & Trading, Ltd. v. Rhodia S.A., 2004 U.S. Dist. LEXIS 24148, 2004

WL 2754862, at *6 (S.D.N.Y. 2004); Cleanup N. Brooklyn v. Brooklyn Transfer LLC, No. 17-

cv-05621 (NG) (RER), 2018 U.S. Dist. LEXIS 71256, at *3 (E.D.N.Y. Apr. 26, 2018). As set

forth in detail below, three of the four prongs cannot be satisfied and thus remand is appropriate.

        Plaintiff brings his claims not under federal law, but rather for violation of the parallel

requirements of New York common law. In its brief in support of subject matter jurisdiction,

B&L omits any reference to Baker v. St. Agnes Hosp., 70 A.D.2d 400, 421 N.Y.S.2d 81 (App.

Div. 1979), and B&L argues there is no New York common law duty at issue, only an alleged

violation of a federal reporting requirement. R. Doc. 38, p. 2. But, Baker (which was raised in

plaintiff’s 12(b)(6) briefing and which was emphasized during oral argument) makes it clear that

plaintiff’s Amended Complaint pleads claims for breaches of duties under New York law, which

do not impose any requirements “different from, or in addition to” duties under federal law. In

that case, the mother of an infant injured by defendant’s drug filed an action seeking damages



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from the drug manufacturer on theories of common law strict liability and negligence.

Defendant argued that its package inserts adequately warned of the drug's dangers and that the

doctor's failure to consult reference material on the drug before prescribing it was the proximate

cause of the infant's injuries. The Appellate Division denied defendant’s motion for summary

judgment and indicated that under New York common law, a drug manufacturer is “under a duty

to warn the medical profession of dangers inherent in its biological drugs which, in the exercise

of reasonable care, it knew or should have known to exist.” And, “it must keep abreast of

knowledge of its products as gained through research, adverse reaction reports, scientific

literature and other available methods;” and “equally important, it must take such steps as are

reasonably necessary to bring that knowledge to the attention of the medical profession. The

greater the potential hazard of the drug, the more extensive must be the manufacturer's efforts to

make that hazard known to the medical profession.” Id. at 82. The Baker court also provided

examples of what defendant could have done to discharge its duty under New York common

law, i.e. “dear Doctor" letters addressed to physicians, notices in medical journals, and calling

physicians personally to present them with information. Id. at 86.

       Thereafter, in Rosen v. St. Jude Med., Inc., 41 F. Supp. 3d 170 (N.D.N.Y. 2014), where

plaintiff alleged that she suffered injuries as a result of defects associated with a Class III

medical device and plaintiff asserted a failure to warn claim, the Court cited Baker to describe

the duty of a medical device manufacturer under New York common law. The Court then held

as follows:

               Plaintiff alleges that Defendants failed to comply with FDA reporting
               requirements, including 21 C.F.R. § 803.50, and that because Defendants violated
               the FDCA, they are subject to state law liability. Plaintiff points out that the FDA
               publishes adverse events and MDRs in a public, searchable database called the
               Manufacturer and User Facility Device Experience ("MAUDE"), which
               physicians and the general public may access to view safety data on medical

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               devices. Thus, Plaintiff argues that Defendants' failure to timely report to the FDA
               led to a violation of state law, in that Defendants also did not exercise reasonable
               care in informing the medical community of known risks. Because Plaintiff has
               alleged a violation of a federal regulation, and New York imposes a similar state
               duty…the Court finds that Plaintiff's failure to warn claim is "parallel" and not
               "different or in addition to" the applicable requirements under federal law. Id. at
               185 (internal quotes and citations omitted).

       In the case at bar, plaintiff is simply asserting that had B&L complied with 21 CFR §

803.50 by communicating adverse event reports to the FDA, B&L would have effectively

warned surgeons, including plaintiff’s surgeon, of those adverse events. This is because events

which are reported to the FDA are input into the MAUDE system, which is available to medical

professionals and the public at large. B&L’s failure to communicate adverse event reports to the

FDA -- which was required under federal law -- amounted to a breach of the parallel, state

common law duty.

       Though neither Morcher nor FCI filed motions to dismiss and instead answered the

Amended Complaint, these defendants use their joint brief to generally assert that plaintiff’s

claims against them are preempted. This is incorrect. To be clear, plaintiff’s causes of action

against Morcher and FCI are grounded in state common law. But, in any event, at the close of

discovery, defendants will have the opportunity to challenge the extent to which plaintiffs can

establish through competent evidence that, inter alia, the product defects resulted from violations

of federal regulations, approved processes and procedures were not followed, and plaintiff’s

injury was caused by this deviation.

       Morcher and FCI write that they “join in and incorporate” B&L’s brief “as if set forth in

full herein,” and Morcher and FCI state that “for all the reasons stated therein” the court should

exercise subject matter jurisdiction. (R. Doc. 39, p 2 of 10). Accordingly, Morcher’s and FCI’s

subject matter jurisdiction argument rises or falls with B&L’s brief.


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    III.        LEGAL ARGUMENTS

           As set forth by the 2nd Circuit in Blockbuster, Inc. v. Galeno, 472 F.3d 53, 57 (2d Cir.

2006), “it is well-settled that the party asserting federal jurisdiction bears the burden of

establishing jurisdiction.” Further, “removal statutes are to be strictly construed" and “all doubts

should be resolved in favor of remand.” See, e.g. Miller v. First Sec. Invs., Inc., 30 F. Supp. 2d

347, 350 (E.D.N.Y. 1998). Defendants cannot meet their burden for establishing jurisdiction and

thus remand is necessary.

           Again, the Grable-Gunn test provides that a court will have federal question jurisdiction

over a state law claim “if a federal issue is: (1) necessarily raised, (2) actually disputed, (3)

substantial, and (4) capable of resolution in federal court without disrupting the federal-state

balance approved by Congress.” Gunn, 568 U.S. 251, 258.

           Plaintiff’s Amended Complaints asserts only state law causes of action, all of which seek

compensation for injuries plaintiff sustained as a result of failures of the Crystalens and the

Capsular Tension Ring. Pursuant to the Medical Device Amendments of 1976, 21 U.S.C. § 360c

et seq. (the “MDA”), state law claims concerning Class III medical devices are expressly

preempted by federal law if they seek to impose requirements that are “different from, or in

addition to” those imposed by federal law. Riegel v. Medtronic, Inc., 552 U.S. 312, 321 (2008)

(quoting 21 U.S.C. § 360k(a)(1)). The MDA’s express preemption provisions “do[] not ,

[however,] prevent a state from providing a damages remedy for claims premised on a violation

of FDA regulations; when the state duties in such a case ‘parallel,’ rather than add to, federal

requirements.” Id. at 330 (quoting Medtronic, Inc. v. Lohr, 518 U.S. 470, 495 (1996)). In view

of these preemption principles, plaintiff has pled federal requirements that “parallel” the state

law duties on which he bases the state law claims. So, plaintiff concedes for purposes of this



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subject matter jurisdiction brief only that issues of federal law are raised by plaintiff’s state law

claims. The other three prongs of the Grable-Gunn test cannot be met, however, and so remand

is appropriate.

        A. “The Second Grable-Gunn Prong Cannot be Satisfied Because the Federal Issue
           is not Actually Disputed”

        In MHA, LLC v. UnitedHealth Grp., Inc., 2014 U.S. Dist. LEXIS 7035 (D.N.J. Jan. 21,

2014), the court rejected defendant’s argument that a federal issue was actually disputed and

explained that there can be no finding of an “actual dispute” unless interpretation of a federal

statute is required. Similarly, in MHA LLC v. Healthfirst, Inc., 629 F. App'x 409, 414 (3rd Cir.

2015), the court rejected defendant’s argument that a federal issue was “actually disputed”

because defendant had “not identified a dispute over the meaning of particular statutory text.”

Moreover, in Congregation Machna Shalva Zichron Zvi Dovid v. United States Dep't of Agric.,

557 F. App'x 87, 90 (2nd Cir. 2014), the Second Circuit remanded, ruling that “the determination

at issue here is a fact-specific application of the regulations to [plaintiff] that does not implicate

the validity of the regulations themselves, or have any other broader effect on federal interests.”

(emphasis added). See also McLaughlin v. Bayer Essure, Inc., No. 18-1144 , 2018 U.S. Dist.

LEXIS 122280, at *18 (E.D. Pa. July 23, 2018) (remanding the case and explaining “Bayer has

simply not established that there is an actual disagreement about an interpretation of federal law

that is material to the claims at issue.”); Taylor v. Bank of Am., N.A., No. 3:18-cv-00288-MOC-

DSC, 2018 U.S. Dist. LEXIS 146774, at *5 (W.D.N.C. Aug. 29, 2018) (remanding the case and

explaining “plaintiffs' Complaint does not raise any disputes as to the meaning of a particular

statutory text.”)

        The sole argument advanced by defendant as to whether there is an actual dispute of a

federal issue is: “Plaintiff alleges B&L violated 21 CFR § 803.50(a) and that such violation

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caused or contributed to his injuries. B&L denies that it violated 21 CFR § 803.50(a) and further

denies that any alleged violation could have caused plaintiff’s injuries. This is the primary, if not

the sole, matter at issue.” R. Doc.38, p. 14. Thus, B&L effectively concedes that the dispute is

not over statutory interpretation or the validity of the regulations, but instead involves the kind of

fact-specific disputes that militate against finding that a federal issue is “actually disputed” for

subject matter jurisdiction purposes.

         Moreover, B&L’s cite to an excerpt from Gunn1 (R. Doc. 38, p. 14) undermines its

argument. This is because: 1) the Gunn Court remanded the case; and 2) a plain reading of the

opinion reveals that the case involved a dispute as to the statutory interpretation of the “on sale”

bar, i.e. 35 U.S.C. §102(b), and whether Plaintiff asserting the so-called “experimental use

exception” to the “on sale” bar on Defendant’s behalf would have necessarily allowed Defendant

to prevail in his federal patent infringement case. Here, it is beyond dispute that B&L was

obligated to report adverse events, and so, unlike in Gunn, there is no need for the Court to

resolve differing interpretations of 21 CFR §803.50. B&L’s reference (R. Doc. 38, p. 14) to

Broder v. Cablevision Sys. Corp., 418 F.3d 187 (2d Cir. 2005) also undermines its argument.

Indeed, the Broder Court only found that a federal issue was actually disputed because:

“Cablevision maintains that its provision of Winter Season rates did not violate the § 543(d)

uniform rate requirement. Cablevision contests, inter alia, whether Broder and the class

members subscribed in areas that lacked ‘effective competition,’ and whether the Winter Season

rates are exempt from the § 543(d) uniformity requirement as promotional rates. These questions




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 “The federal issue is also ‘actually disputed’ here—indeed, on the merits, it is the central point of dispute. Minton
argues that the experimental-use exception properly applied to his lease to Stark, saving his patent from the on-sale
bar; petitioners argue that it did not.” Gunn, 568 U.S. at 259

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involve aspects of the complex federal regulatory scheme applicable to cable television rates…”2

Again, this is distinguishable from the instant matter given that the Court is not called upon to

resolve disputes as to the meaning of a federal statutory text or as to the validity of a federal

statute or regulation.

        B&L concedes there is no dispute as to the interpretation of 21 C.F.R. § 803.50, but that

the dispute is as to whether that provision was violated and as to whether a violation could have

caused the injuries. These are merely fact-specific issues arguably necessitating determinations

about whether B&L should have reported the adverse events, whether B&L did report the

adverse events, and whether B&L’s failure to report the adverse events be causally linked to the

injury. Accordingly, remand is appropriate in this case.

        B. The Third Grable-Gunn Prong Cannot be Satisfied Because the Federal Issue is
           Not Substantial

        B&L advances the disingenuous argument that “determination of plaintiff’s claims of

failure to report adverse events involving the subject device, wherever and whenever they

occurred prior to plaintiff’s surgery, would have a [] nationwide impact.” R. Doc. 38, p. 21.

B&L also argues that “the implications of the claim here…will apply…to the entire regulatory

scheme that governs reporting requirement for all medical devices.” Id. at p. 20.

        These assertions are completely at odds with the actual text of the Amended Complaint,

which simply asserts that when B&L failed to submit Adverse Reaction reports in violation of 21

C.F.R. § 803.50, it also violated New York common law. (R. Doc. 1-2, p. 195). There is no

2
 Moreover, Broder was decided without the benefit of Gunn, which clarified the substantiality
prong of the Gunn-Grable test. See Mihok v. Medtronic, Inc., 119 F. Supp. 3d 22, 33 n.6 (D.
Conn. 2015) (distinguishing Broder, in part, because it was "decided before the Supreme Court's
decision in Gunn); See Knox v. Mazuma Credit Union, No. 15-0288-CV-W-ODS, 2015 U.S.
Dist. LEXIS 68183, 2015 WL 3407618, at *3 n. 1 (W.D. Mo. May 27, 2015) (distinguishing
Broder, in part, because it was decided before the Supreme Court's decision in Gunn).


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logical basis for arguing that this limited claim impacts the entire regulatory scheme or has a

broad, nationwide impact. Indeed, plaintiff’s claim is analogous to the claim in Mihok v.

Medtronic, Inc., 119 F. Supp. 3d 22 (D. Conn. 2015), where plaintiff alleged defendant violated

various provisions of the Current Good Manufacturing Practice regulations promulgated under

the FDCA and by virtue of those violations, defendants violated the Connecticut Products

Liability Act. In remanding the case to state court, the Mihok court explained its rationale for

rejecting the same arguments advanced by B&L:

               The court's analysis of the FDA regulations will take the form of a highly fact-
               specific application of the regulations to Medtronic's conduct that is unlikely to
               substantially impact the federal system. For instance, Plaintiffs cite a violation of
               21 C.F.R. § 820.30(c) where design input work for [Medtronic's] 8731 Intrathecal
               Catheter has not resulted in development of a complete design specification for
               the Platinum/Iridium (Pt/Ir) catheter tip bond. It is difficult to see how
               determinations concerning these and similarly discrete allegations would
               substantially impact the federal system. That the application of the regulations
               may require a state court to grapple with federal law and perform an
               individualized assessment of both the scope of the federal regulation at issue and
               the particular conduct alleged to fall within (or without) that regulation is not
               alone sufficient to warrant federal jurisdiction…State courts are more than
               competent to interpret federal regulations and thus, a state law cause of action that
               requires the interpretation of a federal regulation, by itself, is not sufficiently
               substantial' to create federal jurisdiction. Id at 31-32. (internal cites and quotations
               omitted).

Thus, B&L’s assertions (R. Doc. 38, p. 16) that the Court will somehow need to step into the

shoes of the FDA to make determinations about adverse event reporting requirements and

MAUDE are unavailing. Similarly, in Carmine v. Poffenbarger, 154 F. Supp. 3d 309 (E.D. Va.

2015), plaintiff alleged state products liability and medical malpractice claims arising from

implantation of defendant’s device in plaintiff’s spine, and the Court remanded the case because

“the federal issues in dispute here, while important to the individual litigants, are not significant

to the federal system as a whole.” See also Boerhinger v. Smith & Nephew, Inc., No. 18cv920

(WWE), 2018 U.S. Dist. LEXIS 169996 (D. Conn. Oct. 2, 2018), (remanding the case and

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explaining the substantiality prong was not satisfied because “analysis of the federal regulations

and standards relevant to plaintiff's state product liability claims will require a fact-specific

analysis of those regulations and standards that will be unlikely to substantially impact the

federal system or medical device manufacturers nationwide.”) (internal quotes and citations

omitted). Defendant cannot meaningfully distinguish Mihok, Carmine, or Boeringer.

        The fact that there is no private right of action under the FDCA further demonstrates that

the federal issues raised in this case are not “substantial.” See 21 U.S.C. 337(a) (“Except as

provided in subsection (b) of this section, all such proceedings for the enforcement, or to restrain

violations, of this chapter shall be by and in the name of the United States.”). As the court

explained in Antonetti v. Woodhull Med. & Mental Health Ctr. (HHC), 2014 U.S. Dist. LEXIS

116363, at *13 n.9 (E.D.N.Y. July 28, 2014) (Report & Recommendation Adopted), which

found no subject matter jurisdiction:

               …Even if plaintiff's complaint can be construed as raising an issue of law
               involving the MDA, the Court lacks federal question jurisdiction over plaintiff's
               complaint. In discussing the FDCA, the same statute at issue here (as amended by
               the MDA), the Court in Merrell Dow Pharm. Inc. v. Thompson, 478 U.S. 804, 813
               (1986), held that "a complaint alleging a violation of a federal statute as an
               element of a state cause of action, when Congress has determined that there
               should be no private, federal cause of action for the violation, does not state a
               claim 'arising under the Constitution, laws, or treaties of the United States.'"
               Merrell Dow, 478 U.S. at 817. While the Supreme Court clarified in Grable that
               "Merrell Dow should be read in its entirety as treating the absence of a federal
               private right of action as evidence relevant to, but not dispositive of, the "sensitive
               judgments about congressional intent" that § 1331 requires," the Court did not
               overturn the holding in Merrell Dow that the Court lacked federal question
               jurisdiction in that case given "the strength of the federal interest at stake and the
               implications of opening the federal forum." Grable, 545 U.S. 308, 318, 125 S. Ct.
               2363, 162 L. Ed. 2d 257.

Similarly, in Goade v. Medtronic, Inc., No. 13-5123-CV-SW-ODS, 2013 U.S. Dist. LEXIS

169961 (W.D. Mo. Dec. 3, 2013), where the Court remanded the case, the Court explained that

Congress has not created a federal right of action under the FDCA, nor has it preempted the

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entirety of state regulation, or divested state courts of jurisdiction in such matters. The Goad

Court held that this failure to create a private right of action under the FDCA “cements the

Court's conclusion that the federal issues raised in the complaint are not substantial.” A similar

result is warranted here.

       C. The Fourth Grable-Gunn Prong Cannot be Satisfied Because Exercising Federal
          Jurisdiction in the Case will Disturb the Congressionally-Approved Balance of
          Federal and State Judicial Requirements

       The lack of a private right of action under the FDCA also prevents B&L from satisfying

the fourth prong of the Grable-Gunn analysis. In Steed v. Bos. Sci. Corp., 2017 U.S. Dist.

LEXIS 107904 *9 (N.D. Ohio July 12, 2017), where plaintiff brought a complaint premised on

strict liability theories against a Class III medical device manufacturer, the court held that

exercising jurisdiction would upset the federal-state balance approved by Congress because, inter

alia, Congress has not provided a private right of action under the FDCA. See also Mauk v.

Medtronic, Inc., 41 F. Supp. 3d 654 (W.D. Ky. 2014) (where plaintiff brought strict liability

claims against a Class III medical device manufacturer, the Court remanded the case and

explained even if plaintiffs' complaint presented substantial federal issues, the resolution of this

dispute in federal court will disrupt the federal-state balance approved by Congress given that

“Congress chose to neither permit federal jurisdiction, nor completely preclude state jurisdiction,

over claims alleging violations of the MDA. Further, the Supreme Court in Merrell Dow

indicated its unwillingness to open up federal courts to all state law tort claims involving medical

devices.”) And, in Johnson v. Bayer Healthcare, LLC, 2017 U.S. Dist. LEXIS 195564 (E.D.

Mo. Nov. 29, 2017) the Court held there is no “federal cause of action under the FDCA” and

“accepting federal jurisdiction in a medical device products liability case…would disrupt the




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federal-state balance contemplated by Congress.” Similarly, in the case at bar, exercising subject

matter jurisdiction over plaintiff’s state tort law claims would disturb the federal-state balance.

       B&L ignores these cases and instead cites to Burrell v. Bayer Corp., No. 1:17-cv-00032-

MOC-DSC, 2017 U.S. Dist. LEXIS 38770 (W.D.N.C. Mar. 17, 2017) where the court found that

by virtue of passing the MDA, it necessarily would not upset the federal-state balance to have

medical device claims remain in federal court. But, this logic has been soundly rejected by

multiple courts. See, e.g. Antonetti v. Woodhull Med. & Mental Health Ctr. (HHC), 2014 U.S.

Dist. LEXIS 116363, at *13 n.9 (E.D.N.Y. July 28, 2014) (Report & Recommendation Adopted)

(interpreting Merrell Dow Pharm. Inc. v. Thompson differently than the Burrell court interpreted

it and finding no subject matter jurisdiction); See also Steed, 2017 U.S. Dist. LEXIS 107904, at

*7 n.5 (rejecting Burrell and explaining that the Burrell Court failed to consider the refined

substantiality standard announced in Gunn). This Court should similarly reject Burrell and hold

that resolution of this dispute would disrupt the federal-state balance approved by Congress.

IV. CONCLUSION

       In order for defendants to demonstrate that subject matter jurisdiction is proper,

defendants must show that each of the four Grable-Gunn requirements has been satisfied.

Defendants fall far short of this burden. Indeed, as set forth above, three of the four requirements

cannot be satisfied. Accordingly, the court should remand the case back to New York Supreme

Court, Monroe County.




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                                                   Respectfully submitted,
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